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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   04-40141-01, 02
                                             )
ARLAN DEAN KAUFMAN and                       )
LINDA JOYCE KAUFMAN,                         )
                                             )
                         Defendants.         )
                                             )

                                       ORDER
       This case comes before the court on a motion to quash the
subpoena issued to Tom R.        (Doc. 286.)        Defendants subpoenaed Tom R.
to testify in their behalf.         They have proffered what his testimony
would likely be.       That proffer will be filed under seal as a court
exhibit.      The motion to quash the subpoena is DENIED, subject to
conditions.
       Defendants’ rights have been aptly summarized in United States
v. Moussaoui, 382 F.3d 453 (4th Cir. 2004):
             The compulsory process right does not attach to
             any witness the defendant wishes to call,
             however.   Rather, a defendant must demonstrate
             that the witness he desires to have produced
             would testify "in his favor," U.S. Const. amend,
             VI, see United States v. Valenzuela-Bernal, 458
             U.S. 858, 867, 102 S. Ct. 3440, 73 L. Ed. 2d 1193
             (1982). Thus, in order to assess [defendants’]
             interest, we must determine whether [Tom R.]
             could provide testimony material to [defendants’]
             defense.
             . . . .
             Because [defendants have] not had--and will not
             receive--direct access to [Tom R., they] cannot
             be required to show materiality with the degree
             of specificity that applies in the ordinary case.
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          See Valenzuela-Bernal, 458 U.S. at 870-71, 873,
          102 S. Ct. 3440.   Rather, it is sufficient if
          [defendants] can make a "plausible showing" of
          materiality. Id. at 873, 102 S. Ct. 3440; cf.
          id. at 871, 102 S. Ct. 3440 (noting that a
          defendant who has not interviewed a potential
          witness may demonstrate materiality by relating
          "the events to which a witness might testify[ ]
          and the relevance of those events to the crime
          charged").
Id. at 471-72; see also, United States v. Dowlin, 408 F.3d 647, 659
(10th Cir. 2005) (“However, the right to present defense witnesses is
not absolute.    A defendant must abide the rules of evidence and
procedure,   including     standards     of     relevance      and   materiality."
(Internal quotation marks omitted)).          Based on defendants’ proffer of
the testimony they expect to elicit from this witness, the court finds
they have made a “plausible showing” of materiality as to certain
issues.
     Accordingly, the court rules that Tom R.’s testimony may be taken
under the following conditions:
     1. Tom R.’s testimony will be taken by deposition at the facility
in Nebraska in which he now resides. In order to minimize his anxiety
in anticipation of the deposition, Tom R. is not to be given advance
notice of the deposition.
     2. The testimony will not be videotaped.
     3. Tom R. may have his therapist present, as well as his
attorney, Mr. Ariagno.     Both defense counsel may be present, and one
government attorney may be present.          Defendants shall not be present.
     4. The duration of the deposition is limited to thirty minutes.
Defense counsel will have ten minutes each to ask questions, and the
government will have ten minutes.


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     5. Tom R. may be deposed only as to the following subjects, which
are taken from the defendants’ proffer:
          A. Whether his attendance at the farm was voluntary, and
          whether he could refuse to attend without consequence.          He
          may also testify on this subject as to other residents, if
          he knows.
          B. Whether he and/or other residents could choose not to be
          nude at the Kaufman House without consequences.
          C. Whether he and/or other residents were isolated or
          restricted from contact with the community or their medical
          doctors.


In all other respects the court finds that the testimony proffered by
defendants is not material or is otherwise cumulative.


     IT IS SO ORDERED.
     Dated this   20th     day of October 2005, at Wichita, Kansas.


                                          s/   Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




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